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IN THE UNITED sTATEs DISTRICT CoURT F l L E D ay
FOR THE WESTERN DISTRICT OF TENNESSEE \
EASTERN DIVISION
JUL l 2 2005
BRYAN SAMUEL MOOl'\lEY, ) Thomas M_ Gou,d, mem
a minor, by and through his parent ) WU- S- n
LlsA MooNEY ) 'D‘ OFTN- dawson
)
Plaintiffs, )
) No. l:04-1190~JDT-sta
V~ )
)
SUSAN WALLACE and )
HENDERSON COUNTY BOARD )
oF EDUCATION, )
)
Det`endants. )

 

ORDER PERMITTING WITHDRAWAL OF COUNSEL

 

Jason B. Rudd and J on A. York, attorneys for Defendant Susan Wal]ace, have moved the
Court to permit them to Withdraw as counsel in this action. Defendant Susan Wallace consents
to this withdrawal Counsel for the Plaintiffs and Co-Defendant do not object to the Withdrawal
and Defendant Susan Wallace is currently, and Wil] continue to be, represented by other counsel
in this matter. Furthermore, Withdrawal from this case by Attorneys Jason B. Rudd and Jon A.
York Wil] not prejudice the parties and will not cause any delay in this matter. Accordingly,
Attorneys Jason B. Rudd and Jon A. York’s motion to Withdraw as counsel in this matter is
GRANTED.

IT IS SO ORDERED.

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JU`DGE

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with Rule 58 and.'or_?§ (a) FRCP on '

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Honorable J ames Todd
US DISTRICT COURT

